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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                             )
JUDICIAL WATCH, INC.,                        )
                                             )
       Plaintiff,                            )
                                             )
               v.                            )      Civil Action No. 20-0239 (TFH)
                                             )
UNITED STATES DEPARTMENT OF                  )
STATE,                                       )
                                             )
       Defendant.                            )
                                             )

                                  JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order of May 1, 2020, Plaintiff Judicial Watch, Inc., and

Defendant United States Department of State, by and through undersigned counsel, respectfully

submit this Joint Status Report in this Freedom of Information Act (“FOIA”) case.

       This action involves Plaintiff’s November 20, 2019, FOIA request seeking from

Defendant communications between identified individuals working at the U.S. Embassy in Kiev

and a National Security Council staffer, as well as records pertaining to a January 2016 meeting

at the White House. ECF No. 1 ¶ 5.

       Defendant previously reported that it was unable to process Plaintiff's FOIA request due

to the adverse impact of COVID-19 on the Department's FOIA processing capabilities. See ECF

No. 7. The agency employees responsible for processing the request are retired Foreign Service

Officers known as Retired Annuitants, or “REAs.” Since the parties’ last status report,

Defendant has actively worked to get its REAs telework ready. While REAs cannot be

compelled to telework, about half of State’s REAs (approximately 30) are willing to telework

and have sufficient technological resources to do so. Defendant has also evaluated which of its

active FOIA litigation cases can be processed via telework, as compared to those for which all
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documents are on classified systems, and has worked toward adjusting case assignments such

that REAs previously assigned to cases that cannot be processed via telework can be re-assigned

to cases that can by processed via telework.

       This case is one that can be partially processed via telework. That is because some

potentially responsive documents that are not classified are stored on Defendant’s new document

review platform (FOIAXpress), the unclassified portion of which is accessible via telework. As

such, the agency has resumed processing of this case. However, the reduced number of REAs

and the likelihood of technological challenges will likely limit Defendant’s ability to process

documents at the same rate as it would have under normal circumstances.

       Defendant anticipates making its first production of any non-exempt, responsive records

in this case on July 17, 2020, and on a rolling basis every six weeks thereafter. Pursuant to the

Court’s Minute Order of May 1, 2020, because the agency has resumed its processing of

Plaintiff’s request, the parties will a further Joint Status Report by July 21, 2020, and every 60

days thereafter, until the agency completes its response.

Dated: May 22, 2020                             Respectfully submitted,

                                                /s/ Paul J. Orfanedes
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